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                                                                              FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON
1
                                                                     Aug 03, 2020
2                                                                        SEAN F. MCAVOY, CLERK




3                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
4
     SECURITY NATIONAL                           No. 2:20-cv-00167-SMJ
5    INSURANCE COMPANY,
                                                 ORDER GRANTING MARK AND
6                              Plaintiff,        JENNIFER WILSON’S MOTION
                                                 TO INTERVENE AND DENYING
7                 v.                             DEFENDANT’S MOTION TO
                                                 JOIN AS MOOT
8    CONSTRUCTION ASSOCIATES OF
     SPOKANE, INC.,
9
                               Defendant.
10

11         Before the Court, without oral argument, are Mark and Jennifer Wilson’s

12   Motion to Intervene and Join as Defendants, ECF No. 8, and Defendant’s Motion

13   to Join Mark and Jennifer Wilson as Defendants, ECF No. 11. Mark and Jennifer

14   Wilson and Defendant Construction Associates of Spokane, Inc. assert the Wilsons

15   have been assigned all of Defendant’s rights and claims at issue in this action. ECF

16   Nos. 8, 11. Plaintiff’s response to the motions indicates Plaintiff is not opposed to

17   permissive intervention under Federal Rule of Civil Procedure 24(a)(2) or joinder

18   under Rule 25. ECF No. 12. Having reviewed the motions and the file in this matter,

19   the Court is fully informed and grants the motion to intervene under Federal Rule

20   of Civil Procedure 24(b)(1)(B) and denies Defendant’s motion to join as moot.

     ORDER GRANTING MARK AND JENNIFER WILSON’S MOTION TO
     INTERVENE AND DENYING DEFENDANTS’ MOTION TO JOIN AS
     MOOT – 1
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1          The Wilsons and Defendant assert that they executed an agreement whereby

2    Defendant assigned its rights to bring certain claims against Plaintiff to the Wilsons.

3    ECF No. 8 at 4; ECF No. 11 at 1 (incorporating factual summary from the Wilsons’

4    motion). Plaintiff raises various allegations related to Defendant’s alleged attempt

5    to assign meritless claims to the Wilsons in bad faith but does not dispute that the

6    Wilsons’ and Defendants have entered into an agreement to assign any such claims.

7    ECF No. 12 at 3–4.

8          Mark and Jennifer Wilson assert three grounds for intervention:

9    (i) intervention as of right under Rule 24(a)(1), (ii) permissive intervention under

10   Rule 24(b)(1)(B), and (iii) joinder under Rule 25. ECF No. 8. Defendant also seeks

11   to have Mark and Jennifer Wilson joined on three grounds: (i) as required parties

12   under Rule 19(a)(1)(A) and (ii) as required parties under Rule 19(a)(1)(B)(i), or

13   (iii), alternatively, as parties who may be joined under Rule 20(a)(2)(B). ECF

14   No. 11. Plaintiff agrees only to permissive intervention under Rule 24(b)(1)(B) or

15   joinder under Rule 25. ECF No. 12 at 5. Plaintiff argues it is premature to determine

16   whether the Wilsons qualify for intervention as a right under Rule 24(a)(1), and

17   Plaintiff does not address the remaining grounds for joinder. Id.

18         After reviewing the briefing in this matter, it is evident that the Wilsons’

19   motion to intervene should be granted under Rule 24(b)(1)(B). Rule 24 permits

20   “anyone to intervene who . . . has a claim or defense that shares with the main action

     ORDER GRANTING MARK AND JENNIFER WILSON’S MOTION TO
     INTERVENE AND DENYING DEFENDANTS’ MOTION TO JOIN AS
     MOOT – 2
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1    a common question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B). Here, the parties

2    and the Wilsons agree that the Wilsons’s assigned claims against Plaintiff share

3    common questions of law and fact with Plaintiff’s claims against Defendant. ECF

4    No. 8 at 11; ECF No. 11 at 3; ECF No. 12 at 5. The Court agrees. As such, the

5    Wilson’s Motion to Intervene and Join as Defendants is granted, and Mark and

6    Jennifer Wilson shall be added as Intervenor-Defendants. Defendant’s Motion to

7    Join Mark and Jennifer Wilson as Defendants is denied as moot.

8          Accordingly, IT IS HEREBY ORDERED:

9          1.     Mark and Jennifer Wilson’s Motion to Intervene and Join as

10                Defendants, ECF No. 8, is GRANTED.

11         2.     Defendant’s Motion to Join Mark and Jennifer Wilson as Defendants,

12                ECF No. 11, is DENIED AS MOOT.

13         3.     Mark Wilson and Jennifer Wilson shall be added to this action as

14                Intervenor-Defendants

15         IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

16   provide copies to all counsel.

17         DATED this 3rd day of August 2020.

18
                        _________________________
19                      SALVADOR MENDOZA, JR.
                        United States District Judge
20

     ORDER GRANTING MARK AND JENNIFER WILSON’S MOTION TO
     INTERVENE AND DENYING DEFENDANTS’ MOTION TO JOIN AS
     MOOT – 3
